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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA,                       *
                                                *
                                                *
v.                                              *    Criminal Case No. RWT-04-235
                                                *
KIMBERLY RICE,                                  *
                                                *
       Defendant.                               *
                                                *

                                   MEMORANDUM ORDER

       The Court is in receipt of the Defendant’s correspondence dated January 5, 2015, which

the Court has deemed a Motion for Reduction of Restitution, ECF No. 1734, and the

Government’s Response in Opposition, ECF No. 1762. The Court finds that a reduction of the

total amount of restitution is not warranted, nor is it permissible under the Mandatory Victims

Restitution Act, 18 U.S.C. § 3663A. The Defendant is advised to work with the United States

Probation Office to determine whether her payment amounts can be reduced in response to

hardship.

       Accordingly, it is, this 29th day of February, 2016, by the United States District Court for

the District of Maryland, hereby

       ORDERED, that the Defendant’s Motion for Reduction of Restitution [ECF No. 1734] is

DENIED; and it is further

       ORDERED, that the Clerk SHALL MAIL a copy of this Order to the Defendant.


                                                                   /s/
                                                               ROGER W. TITUS
                                                        UNITED STATES DISTRICT JUDGE
